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             1   UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF FLORIDA
             2   ORLANDO DIVISION
                 Cause No. 22-CV-1596-RMN
             3
                 JEAN DECARLO 22-CV-1596-RMN
             4   MYRNA PINEIRO 22-CV-1574-RMN
                 KIMBERLY GOUDE 22-CV-1511-RMN
             5   KEITH NYBERG 22-CV-1567-RMN
                 YOLANDA BERTSCHY 22-CV-1658-RMN
             6   MICHELLE CIOFFI 22-CV-2317-RMN
                 THERESA DAVIDSON 22-CV-2361-RMN
             7   BETTY BORGOS 23-CV-00475-RMN
                 PENELOPE ROBERGE 23-CV-00458-RMN
             8   PLAINTIFFS,

             9   V.

            10   EMERGE HEALTHCARE GROUP, LLC,
                 FCID MEDICAL, INC.,
            11   FIRST CHOICE MEDICAL GROUP OF BREVARD, LLC,
                 FIRST CHOICE HEALTHCARE SOLUTIONS, INC. AND
            12   LANCE FRIEDMAN, INDIVIDUALLY.
                 DEFENDANTS.
            13   ________________________________________/
                 VIDEOCONFERENCE DEPOSITION OF JULIE HARDESTY
            14   DATE:       JULY 17, 2023
                 REPORTER: KAITLYN HARRIS
            15   PLACE:      ALL PARTIES APPEARED VIA VIDEOCONFERENCE

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    1                              APPEARANCES

    2 ON BEHALF OF THE PLAINTIFFS, JEAN DECARLO, ET AL.:
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    6
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      E-mail: jhenderson@fresewhitehead.com
   11 (Appeared via videoconference)

   12 Also Present:
      Henrietta Wegener, Law Intern
   13 Phil Keller, Corporate Representative

   14

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    1                              STIPULATION

    2

    3 The videoconference deposition of Julie Hardesty taken

    4 remotely on Monday the 17th day of July 2023 at

    5 approximately 1:02 p.m.; said deposition was taken

    6 pursuant to the Florida Rules of Civil Procedure.

    7

    8 It is agreed that Kaitlyn Harris, being a Notary Public

    9 and Court Reporter for the State of Florida, may swear

   10 the witness and that the reading and signing of the

   11 completed transcript by the witness is not waived.

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    1                     PROCEEDINGS

    2              THE REPORTER:      All right, will all parties

    3       except for the witness please state your appearance,

    4       how you're attending, and your location?

    5              MR. WOOD:     Joseph Wood on behalf of the

    6       plaintiffs.      I am in my office in Melbourne,

    7       Florida.

    8              MR. HENDERSON:      James Henderson here on behalf

    9       of the defendants.        I am also in my office in

   10       Melbourne, Florida, appearing via Zoom.

   11              MR. WOOD:     And we also have Henrietta Wegener.

   12       I didn't get that right, but she is an intern from

   13       my office who's also on to observe.

   14              THE REPORTER:      All right.     Ms. Hardesty, can

   15       you please say your full name for the record?

   16              THE WITNESS:     Julie Hardesty.       Do you need me

   17       to spell my last name?

   18              THE REPORTER:      Do you have your ID with you?

   19              THE WITNESS:     Yes, I do.

   20              THE REPORTER:      Show that to the camera, please.

   21       Back it up just a little bit so it can clear up.

   22       Good, right there.        Perfect.     All right, well --

   23              THE WITNESS:     Did you get it?

   24              THE REPORTER:      Yes.

   25              THE WITNESS:     Okay.
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    1              THE REPORTER:      You're good.     Do all parties

    2       agree that the witness is, in fact, Julie Hardesty?

    3              MR. WOOD:     It appears that way.

    4              MR. HENDERSON:        I'm in agreement.

    5              THE REPORTER:      All right.

    6              MR. KELLER:     Also in attendance is Phillip

    7       Keller as a corporate representative.

    8              THE WITNESS:     Oh, and I'm --

    9              MR. KELLER:     Also --

   10              THE WITNESS:     -- at the corporate office.

   11              MR. KELLER:     Also in Melbourne, Florida.

   12              THE WITNESS:     Melbourne, Florida.

   13              THE REPORTER:      Okay.    Perfect.

   14              MR. WOOD:     Is there anyone else in attendance

   15       that we are not aware of?

   16              THE WITNESS:     No.

   17              MR. WOOD:     Okay.

   18              MR. KELLER:     Not from our standpoint, and I

   19       can't --

   20              MR. WOOD:     Okay.

   21              MR. KELLER:     -- comment on the other parties.

   22              MR. WOOD:     Okay.    All right --

   23              THE REPORTER:      All right, I got to get her

   24       sworn in real quick.

   25              MR. WOOD:     There we go.      All right.
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    1              THE REPORTER:      Ms. Hardesty, will you please

    2       raise your right hand?          Do you solemnly swear or

    3       affirm the testimony that you are about to give will

    4       be the truth, the whole truth, and nothing but the

    5       truth?

    6              THE WITNESS:      Yes.

    7              THE REPORTER:      All right.     Now we can go ahead.

    8                        DIRECT EXAMINATION

    9                BY MR. WOOD:

   10         Q.     Okay.     Good afternoon, Ms. Hardesty.         My name

   11 is Joseph Wood.          I represent a number of employees who

   12 are involved in litigation with the First Choice, or

   13 Emerge Healthcare companies.            Offline, you corrected me

   14 on the First Choice.          I've been referring to this as

   15 Emerge.      It appears that that's what they've rebranded

   16 as most recently.          There are a number of different

   17 corporate entities that are involved.              Typically

   18 speaking --

   19         A.     Emerge is just a DBA, and the company is First

   20 Choice Healthcare Solutions.

   21         Q.     Okay.     And we'll kind of go through that, but

   22 when I say Emerge, I want you to understand that I'm

   23 really referring to First Choice Healthcare Solutions,

   24 FCID, FC Medical Group, and then there's an Emerge

   25 Healthcare Group of Brevard, LLC, I believe.                All of
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    1 them are what I'm referring to as Emerge, or First

    2 Choice if I do use that; do you understand that?

    3         A.    Yes, sir.

    4         Q.    Okay.    You have indicated that you are sitting

    5 at the offices of Emerge.          Mr. Keller is there.        Today's

    6 deposition is your testimony based on your knowledge. We

    7 don't need help from anybody else.             Please treat this as

    8 though you are sitting in the courtroom at the

    9 courthouse, next to a judge, on the witness stand.                 So

   10 first, let me ask you, have you had your deposition

   11 taken previously?

   12         A.    Not for this, but I have --

   13         Q.    In any -- in any matter.

   14         A.    Yes, sir.

   15              MR. WOOD:     Okay, so I'm going to ask you some

   16       questions that give rise to the lawsuits that have

   17       been filed.      If you don't hear a question from me,

   18       let me know and I will repeat it.            If you don't

   19       understand a question, let me know and I can try to

   20       rephrase it.       If you need to use the restroom, stop,

   21       take a break, whatever, we can do that.             I try to go

   22       about an hour before we take a break, and we

   23       shouldn't be going for too long on this today, so

   24       just stop me and let me know. We'll try to get

   25       through a question or a document before we really
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    1       have a hard stop, and we'll let you take a break.

    2              THE WITNESS:     Thank you.

    3               BY MR. WOOD:

    4         Q.    If you've answered a question that I've asked,

    5 I'm going to assume that you heard the question, that

    6 you understood the question, and you've given me your

    7 best recollection.         The testimony today is being taken

    8 down by the court reporter.           Because of that, we need a

    9 clean record.         Please try to let me finish my question

   10 before you begin your answer, and I will do my best to

   11 allow you to finish your answer before I begin my next

   12 question.      We also need a clean record with yes or no

   13 answers where appropriate.           Uh-huhs, uh-uhs, head

   14 shakes, do not get translated onto the transcript, so if

   15 you catch yourself doing it, please try to correct

   16 yourself.      If I see that you've given some kind of a

   17 nonverbal answer, I will also try to just bring out a

   18 clear verbal response.          Do you understand the

   19 instructions so far?

   20         A.    Yes, sir.

   21         Q.    Okay.     And Ms. Hardesty, sitting here today,

   22 do you work for any of the First Choice or Emerge

   23 companies?

   24         A.    I am a subcontractor for First Choice.

   25         Q.    Okay.     You're a 1099 contractor, right?
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     1        A.    Yes, sir.

     2        Q.    And in fact, with the exception of Phil and

     3 Lance Friedman, everyone who works for the company is a

     4 1099 at this point, right?

     5        A.    Yes, sir.

     6        Q.    Before you were a 1099 -- let me strike that.

     7 You became a 1099 in January of this year, right?

     8        A.    Yes, sir.

     9        Q.    Before that time, you were a W-2 employee,

   10 correct?

   11         A.    Yes, sir.

   12         Q.    Which entity do you know employed you?

   13         A.    First Choice Healthcare Solutions,

   14 Incorporated.

   15         Q.    And that is the parent corporation of all of

   16 these subsidiaries; is that right?

   17              MR. HENDERSON:      Objection.

   18         A.    Yes, sir.

   19               BY MR. WOOD:

   20         Q.    And your job duties working for First Choice

   21 -- or, let me start here.          What was your job title?

   22         A.    Controller.

   23         Q.    And as controller, what were your job duties?

   24         A.    Day-to-day operations, month-end close,

   25 journal transactions, preparing financials.
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     1        Q.    You said that you were employed by First

     2 Choice, the parent corporation.           Did you do work for any

     3 of the subsidiaries?

     4        A.    I did a consolidation of the subsidiaries.

     5        Q.    Can you explain what that means?

     6        A.    Yes.    FCID and FCMG are wholly-owned

     7 subsidiaries of First Choice Healthcare Solutions, so in

     8 order to prepare financials, I had to do consolidated

     9 financials.

   10         Q.    Okay.     Did the subsidiaries have their own

   11 controller, or were you it?

   12         A.    I'm it.

   13         Q.    Okay.     Did you have the ability to hire or

   14 fire any employees of First Choice or its subsidiaries?

   15         A.    No, sir.

   16         Q.    Do you know who did?

   17         A.    Final approval came from Lance Friedman.

   18         Q.    Okay.     You mentioned consolidation of the

   19 subsidiaries under the parent.            Were you involved at all

   20 with the preparation, review, any aspect of having taxes

   21 filed on behalf of the entities?

   22         A.    Yes, sir.

   23         Q.    Okay.     Did they file a consolidated tax

   24 return?

   25         A.    Yes, sir.
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     1        Q.    And primarily during today's deposition, we're

     2 going to be talking about the time frame of 2001, 2002,

     3 and a little bit into 2003, just because of the

     4 transition in January, but primarily, we're looking at

     5 '21, '22, okay?

     6        A.    Okay.    I'm confused.       2001 --

     7             MR. HENDERSON:      Joseph --

     8        A.    -- '02, and '03 are --

     9             MR. WOOD:     Sorry, sorry.

   10              MR. HENDERSON:      Yes.

   11               BY MR. WOOD:

   12         Q.    Not 20 years ago.         2021 and --

   13         A.    My brain is bad.       That would be -- that would

   14 be a real hard shot there.

   15         Q.    Well, you know, I've taken a few other depos

   16 which did pertain to those dates in the last week, so I

   17 apologize.       Today, we are talking about 2021, 2022, and

   18 a bit into 2023.         So when I ask you questions, unless,

   19 you know, you want to clarify, I'm really asking about

   20 that time frame, okay?

   21         A.    Yes, sir.

   22         Q.    Okay.    So do you know if a tax return was

   23 filed for 2021?

   24         A.    No, sir.

   25         Q.    And I'm going to assume that 2022 has also not
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     1 been filed; is that right?

     2        A.    No, sir.

     3        Q.    When is the last year that a tax return was

     4 filed?

     5        A.    2019, I believe.

     6        Q.    Okay.    Since the company came out of

     7 bankruptcy, have they filed a tax return?

     8        A.    No, sir.

     9        Q.    Okay.    While the companies were in bankruptcy,

   10 did they file tax returns?

   11         A.    No, sir.

   12         Q.    Prior to them entering bankruptcy, they filed

   13 tax returns, correct?

   14         A.    Yes, sir.

   15         Q.    Okay.    And that was the last one, I guess,

   16 that you were involved with, was 2019?

   17         A.    Correct.

   18         Q.    The books of the company, when I'm talking

   19 about books, I'm talking about profit, loss, that kind

   20 of thing, you're involved with that, correct?

   21         A.    Yes, sir.

   22         Q.    Okay.    Do the subsidiaries and the parent, do

   23 they maintain separate books?

   24         A.    Yes, sir.

   25         Q.    And do the companies transfer -- transfer sums
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     1 of money between the entities?           For instance, would

     2 FCHS, the parent, transfer money into, say, FCID or

     3 FCMG?

     4         A.   Yes, sir.

     5         Q.   Okay.    And what would be the purpose of those

     6 transfers?

     7         A.   Operating --

     8              MR. HENDERSON:     Objection.

     9         A.   General operating activities.

   10               BY MR. WOOD:

   11          Q.   Okay.    So if I can give you an example, maybe,

   12 would a transfer be made to, say, FCMG to cover payroll

   13 for a certain pay period?

   14          A.   Yes.

   15          Q.   Okay.    And I'm not referring to a specific pay

   16 period, I'm just giving a kind of a hypothetical.                The

   17 FCID, are you familiar with its business?

   18          A.   Yes.

   19          Q.   What does it do to generate revenues?

   20          A.   Nothing.

   21          Q.   Okay, so what did FCID do?

   22          A.   It was a holding company for the medical

   23 group.

   24          Q.   Okay, so the medical group, that's FC -- First

   25 Choice Medical Group, correct?
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     1        A.    Yes.

     2        Q.    And the First Choice Medical Group, if I

     3 understand correctly, employed the healthcare providers,

     4 the doctors, maybe lower-level healthcare providers; is

     5 that fair to say?

     6        A.    Direct healthcare providers, which are MAs,

     7 PAs, physical therapists, and doctors.

     8        Q.    And at some point in time around April of

     9 2022, the administrative staff was also merged into FC

   10 Medical Group, right?

   11         A.    For payroll purposes, when we went to TriNet,

   12 it was merged to one company, but they were reported on

   13 FCID Medical still for the P&L.

   14         Q.    Okay, so the administrative staff salaries,

   15 for instance -- or, I guess, not salaries, but wages,

   16 would've been reported on FCID's P&Ls, but the wages

   17 were paid by FC Medical Group; is that what I'm hearing?

   18         A.    Yes.

   19         Q.    Okay, because the paychecks themselves changed

   20 for some of these people from --

   21         A.    It -- it was administrative and clerical.

   22         Q.    Okay.    The employees who were affected by this

   23 change, their job duties didn't change, correct?

   24         A.    No.

   25         Q.    Do you know if they were even informed of this
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     1 change?

     2        A.    They were still FCID employees.           The payroll

     3 was merged, so I had less fees to pay when we used an

     4 outside source.

     5        Q.    Okay.

     6        A.    They still worked for FCID Medical,

     7 Incorporated.

     8        Q.    Were -- this took place in 2022.           Has the

     9 company issued W-2s for the year 2022?

   10         A.    Yes.    All of the W-2s came from FCMG because

   11 that's where the payroll was captured, but it was

   12 allocated to FCID for reporting purposes.

   13         Q.    Now, I think we said that the transition to FC

   14 Medical Group took place in about April, which means

   15 that these employees would've received paychecks from

   16 FCID for the first quarter.           Did they -- did any of them

   17 receive a W-2 from FCID, or did the entire yearly wages,

   18 were those represented on the W-2 from FC Medical Group?

   19              MR. HENDERSON:      Objection.     Form.

   20         A.    The entire W-2 wages were reported on First

   21 Choice Medical Group.

   22               BY MR. WOOD:

   23         Q.    Okay.    I'm going to assume that you are aware

   24 of the fact that certain employees have not received, or

   25 not been paid, all of their wages for work completed
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     1 within 2022 and 2021.        Well, 2022, really.

     2             MR. HENDERSON:      Objection.     Form.

     3        A.    I'm -- you said 2021 and --

     4              BY MR. WOOD:

     5        Q.    So let me -- let me clarify.          And before we

     6 get there, Mr. Henderson's going to make objections

     7 during my questioning and your answering.              With the

     8 exception of an objection and a direction to you to not

     9 respond, which is probably not going to happen here, you

   10 are required to respond.          And the objection is really

   11 just to preserve any objections he may have to the

   12 question. It could be minor things with the way that I

   13 phrased the question, it could be something else, but

   14 please don't interpret it or try to interpret it any

   15 other way.       Just let him make the objection, and then

   16 try to respond as best you can.            The --

   17         A.    I -- I was having a hard time hearing him

   18 before, if he did object --

   19         Q.    Okay.

   20         A.    -- so I will need him to speak up.

   21         Q.    Well, so the objection really isn't too

   22 important for you.         It's more important for the court

   23 reporter.      The only time the objection will be important

   24 for you is the direction, do not respond.               And like I

   25 said, I don't foresee that happening today, and if you
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     1 were -- if he directed you to respond, and I hear that,

     2 and you keep on going, I will tell you to stop, but

     3 probably things we don't need to cover today.

     4        A.      Okay, thank you.

     5        Q.      The question -- so the lawsuits that we've --

     6 that I'm here to ask about today pertain to unpaid wages

     7 for a number of employees.          They also pertain to certain

     8 issues pertaining to the healthcare benefits of the

     9 employees.       The healthcare benefit issue takes place

   10 beginning in November of 2021, the wages are in 2022,

   11 and then there's another issue with the healthcare in

   12 2022.        So my last question, I did talk about asking

   13 about wages in 2021 and 2022.           In reality, I think all

   14 of the wages that are alleged to be owed come in 2022.

   15 So my question to you is, are you aware of the fact that

   16 certain employees of the Emerge Healthcare Group, or

   17 First Choice, worked certain hours and didn't get paid?

   18         A.      Yes.

   19         Q.      Okay.   And you are aware that employees had

   20 deductions from their paychecks for healthcare that they

   21 did not receive, or healthcare insurance?

   22         A.      Yes.

   23         Q.      Okay.   And are you aware of that through your

   24 role as controller of the companies?

   25         A.      Yes.
Case
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     1        Q.    Sitting here today, are you owed any money in

     2 the form of wages from the companies?

     3        A.    Subcontractor wages?

     4        Q.    Well --

     5        A.    Yes.

     6        Q.    The subcontractor, quote-unquote, "wages,"

     7 would've been for work completed after January of this

     8 year, right?

     9        A.    Yes.

   10         Q.    Okay.     I'm asking you about wages earned by

   11 you in 2022, or, I guess, the first week of 2023, while

   12 you were still a W-2.         Are you owed any wages from that

   13 time frame?

   14         A.    No.

   15         Q.    Okay.     Were you ever owed wages from that time

   16 frame?

   17         A.    Yes.

   18         Q.    When were you paid those wages?

   19         A.    In April of 2023.

   20         Q.    Do you recall how much you were owed?

   21         A.    No, I'm sorry.

   22         Q.    So sitting here today, you are not owed any

   23 wages from the time frame when you were a W-2 employee?

   24         A.    No.

   25         Q.    Have you calculated how much employees are due
Case
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     1 in wages in or from the year 2022?

     2        A.    Yes.

     3        Q.    And that calculation, is it accurate as of

     4 today?

     5        A.    Yes.

     6        Q.    Okay.    The calculation, is it on a spreadsheet

     7 somewhere?

     8        A.    Yes.

     9        Q.    And I'm assuming the spreadsheet is maintained

   10 somewhere in the office where you're sitting today,

   11 right?

   12         A.    Yeah.    Well, I work from home --

   13         Q.    Okay.

   14         A.    -- so -- so --

   15         Q.    And so --

   16         A.    -- computer at home.        Sorry.

   17         Q.    It's on your computer at home.            This document

   18 is not a private document of yours, though, it's a --

   19 it's a document that you created on behalf of the

   20 companies, right?

   21         A.    Yes.

   22              MR. HENDERSON:      Objection.     Form.

   23               BY MR. WOOD:

   24         Q.    Have you provided that document to anybody in

   25 the last 12 months?
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     1        A.    Yes.

     2        Q.    Okay.    Do you know if anyone has requested

     3 that you provide that document as part of this lawsuit?

     4        A.    No.

     5        Q.    Okay.    Sitting here today, you're not on your

     6 computer, you're on Phil's.

     7        A.    Right.

     8        Q.    Do you have access to that document?

     9        A.    No.

   10         Q.    Okay.    Do you recall the total amount in wages

   11 that the document shows is owed to employees?

   12         A.    No.

   13         Q.    On the document we're talking about, does it

   14 show active employees and prior employees?               Are they

   15 separated?

   16         A.    The only monies due is to prior employees --

   17         Q.    Okay.

   18         A.    -- that I'm tracking.

   19         Q.    And when you say prior employees, do you mean

   20 that they're no longer W-2s, or that they're no longer

   21 working for the business at the moment?

   22         A.    No longer working for the business.

   23         Q.    Okay.    Prior to today, were you made aware of

   24 the lawsuits that had been filed against First Choice

   25 for back wages?
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     1        A.    Yes.

     2        Q.    Okay.     And do you know if you've calculated

     3 the back wages for each of the employees that have filed

     4 lawsuits against the company?

     5        A.    I have.

     6        Q.    Okay.     And those calculations would be in the

     7 same spreadsheet we're talking about, right?

     8        A.    They're in a spreadsheet that I used for the

     9 interrogatories --

   10         Q.    Okay.

   11         A.    -- because I had to reduce them for the

   12 payment that I made to the Department of Labor for gross

   13 wages.

   14         Q.    Okay, so the interrogatory responses, which I

   15 frankly did not have on my list of things to talk to you

   16 about, you helped provide answers to the interrogatory

   17 responses?

   18         A.    Yes.

   19         Q.    Okay.     And there were questions, and I'm

   20 trying to pull up an example for me to review.                Lance --

   21 just bear with me for a minute.            Okay, so I'm looking at

   22 Ms. Borgos, but the questions were all the same for

   23 everyone, I think, primarily.           Question 10 says, "Please

   24 calculate the amount of wages which you believe remain

   25 unpaid to Plaintiff during the relevant time period,"
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     1 and --

     2        A.    Correct.

     3        Q.    -- you're saying that you helped formulate the

     4 response to this question?

     5        A.    Yes, sir.

     6        Q.    And when there's a response here, in this

     7 example, anyway, it says, "$1,312.07."             You -- what

     8 you're saying is that this figure is after an amount

     9 that you paid to the Department of Labor?

   10         A.    Sir, I don't know what the figure is for

   11 Betty --

   12         Q.    And --

   13         A.    -- and as far as I know, they have not handed

   14 you the interrogatories with answers.

   15         Q.    Okay, so let me -- we'll start with the

   16 Exhibit 1 so -- just so we're on the same page.

   17              MR. WOOD:     This will be Plaintiff's 1, and I

   18        just picked a random one out to go over.

   19               (EXHIBIT 1 MARKED FOR IDENTIFICATION)

   20               BY MR. WOOD:

   21         Q.    Now, this is a response that we received.

   22 This is First Choice Medical Group of Brevard, LLC, and

   23 as I scroll through, you can see that I do have a

   24 response here to number 10.

   25         A.    Who prepared this response?
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     1        Q.    That I just received it, so I'm not involved

     2 in, on your end, as to who prepared the discovery

     3 responses.      I believe in the last few weeks, we've

     4 received a verification page as well.            I haven't gone

     5 through that.        This response came from somewhere, and

     6 based on what you've told me, it sounds like these --

     7 this figure, the 1,312.07, was -- probably came from

     8 you; is that right?

     9        A.    I would have to verify that.

   10         Q.    Okay.

   11         A.    I was reviewing the interrogatories this

   12 weekend --

   13         Q.    Okay.

   14         A.    -- and found errors --

   15         Q.    Okay.

   16         A.    -- that were going to be corrected with Mr.

   17 Henderson's office.

   18         Q.    Let's -- what errors did you see in the

   19 answers to interrogatories that -- when you reviewed

   20 them this past weekend?

   21         A.    The original interrogatories didn't include

   22 the Department of Labor calculations --

   23         Q.    Okay.

   24         A.    -- and some of the answers were incorrect,

   25 regarding Emerge Healthcare and First Choice Healthcare
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     1 Solutions, since none of the employees work directly for

     2 those entities.

     3        Q.    Okay.

     4        A.    Emerge is a DBA.

     5        Q.    So I've heard that quite a bit, and -- are you

     6 familiar with Sunbiz, what Sunbiz is?

     7        A.    Yes.

     8        Q.    And have you reviewed Sunbiz for all of these

     9 related entities?

   10         A.    Emerge Healthcare was set up, but it does not

   11 have a federal ID number.          It never had a bank account,

   12 has never had profit and loss or checking accounts.                 It

   13 -- it -- it was set up because we were going to move

   14 into it, but that never occurred.

   15         Q.    Okay.    Now, on Sunbiz, it does list Emerge

   16 Healthcare Group, LLC as a fictitious name, which is a

   17 DBA, doing business as.          They also list it as a -- an

   18 entity with a document number.            But I agree with you,

   19 there's no FEIN, but there is a document number, and

   20 it's a -- it's a formed LLC, and in fact, it filed an

   21 annual report this year in 2023.

   22         A.    Correct.

   23         Q.    Is it your understanding that fictitious names

   24 file annual reports?

   25              MR. HENDERSON:      Objection.     Form.
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     1        A.    I -- I don't know what that means.

     2              BY MR. WOOD:

     3        Q.    Okay, so what is your understanding of what a

     4 fictitious name or DBA is?

     5             MR. HENDERSON:       Objection.    Form.

     6             MR. WOOD:     I'm just asking her understanding.

     7        A.    It's a doing business as.

     8              BY MR. WOOD:

     9        Q.    Okay.

   10         A.    We were, again, trying to transition from

   11 First Choice, because of the bankruptcy issues, into

   12 Emerge Healthcare.         We set up the company but never

   13 moved in.

   14         Q.    Okay, so you don't dispute that Emerge

   15 Healthcare Group, LLC was a formed company?

   16         A.    We filed Sunbiz to reserve the name.

   17         Q.    Okay.     What --

   18         A.    Okay.

   19         Q.    I think there's confusion, because there's two

   20 different things on Sunbiz.           And there is a fictitious

   21 name, and you can search under fictitious names --

   22         A.    Uh-huh.

   23         Q.    -- and that is -- well, I can find out who

   24 it's owned by.        There's also a company that was

   25 incorporated or formed, and they're two different
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     1 things.

     2         A.    I understand.

     3         Q.    Okay.   Do you know who owns the fictitious

     4 name?

     5         A.    First Choice Medical Group of Brevard, I

     6 believe, owns the fictitious name.

     7         Q.    Okay, so First Choice Medical Group of Brevard

     8 owns the fictitious name, Emerge Healthcare Group, LLC?

     9         A.    I don't know that that's the fictitious name,

   10 sir.

   11          Q.    Okay.

   12          A.    I'm confused as to which one was the

   13 fictitious name.          Okay, I see it.

   14          Q.    So we'll -- give me -- just give me a second.

   15               MR. WOOD:     I'm not going to mark this, James.

   16        It's -- we're looking at Sunbiz, for the record, and

   17        I just want to make sure that we're on the same page

   18        as we search this.       So I'm showing the witness two

   19        different things.

   20                BY MR. WOOD:

   21          Q.    One, the fictitious name detail, it's Emerge

   22 Healthcare Group, LLC.

   23          A.    Yes.

   24          Q.    It is owned by First Choice --

   25          A.    First Choice --
Case
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     1        Q.    -- Medical Group of Brevard --

     2        A.    -- Medical Group of Brevard, LLC.

     3        Q.    Okay.    And this was formed in June of '22.

     4 It's -- it goes through 2027.

     5        A.    Yes.

     6        Q.    Separately, there is a company, Emerge

     7 Healthcare Group, LLC, which was formed around the same

     8 time frame, June 9 of 2022, and it filed its annual

     9 report to remain active in April of this year.               Do you

   10 -- do you see this company?

   11         A.    Yes.

   12         Q.    Okay.    And you understand that they're

   13 different things, right?

   14         A.    Yes.

   15         Q.    Okay.    This LLC, the company, doesn't do

   16 anything, right?

   17         A.    No.

   18         Q.    Okay.    Do you know why an annual report was

   19 filed this year to keep the company active?

   20         A.    To keep the name reserved, I think.

   21         Q.    But the name -- and I'm not trying to argue,

   22 I'm just trying to figure this out, because the name is

   23 a different thing, and the name doesn't expire until

   24 2027.

   25         A.    I -- I do not --
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     1             MR. HENDERSON:      Objection.     Form.

     2        A.    I don't know.

     3              BY MR. WOOD:

     4        Q.    Okay.    Okay.

     5        A.    I don't know.

     6        Q.    Okay, that -- and that's fine.            I don't

     7 either, which is why I'm trying to find out.               It just

     8 seems a bit odd, but -- because you have one LLC doing

     9 business as another LLC with a fictitious name of a

   10 separate entity.         It just -- it's an odd thing to have.

   11 But your understanding -- and you have the P&Ls, or you

   12 have access to them, maybe not this -- sitting here

   13 today, but Emerge Healthcare Group, LLC, the entity,

   14 doesn't generate revenue, it doesn't operate at all, is

   15 what you're saying?

   16         A.    Correct.

   17         Q.    Okay.    So let's close this.       So when you

   18 reviewed the interrogatories, you said that there was --

   19 it was incorrect because the employees didn't work

   20 directly for Emerge Healthcare Group LLC, correct?

   21         A.    Correct.

   22         Q.    And what was the other one?

   23         A.    First Choice Healthcare Solutions.

   24         Q.    The parent?

   25         A.    Incorporated, yes.
Case
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     1        Q.    Okay.    Okay.    Were there any other issues that

     2 you saw with the answers to interrogatories when you

     3 recently reviewed them?

     4        A.    I did not review this one, so --

     5        Q.    Okay.

     6        A.    -- I don't know how to answer.

     7        Q.    Okay.    You were consulted in the initial

     8 answers to these interrogatories, correct?

     9        A.    Yes.

   10         Q.    Okay.    And I'll represent to you, as far as I

   11 know, that these questions should be the same ones that

   12 you reviewed, because I don't know that I've sent new

   13 ones out.      Do you recall which questions you were

   14 consulted on to provide a response?

   15         A.    The dollar amounts due.

   16         Q.    Okay.    So it looks like it's just maybe number

   17 10 where we say, "Please calculate the amount of wages

   18 that are still owed to Plaintiff."             Now, earlier, you

   19 had said that this number might have been after you

   20 deducted the amount paid to the DOL.             Is that your

   21 understanding of how you calculated these figures?

   22         A.    Sir, I -- I don't know what these figures here

   23 are --

   24         Q.    Okay.

   25         A.    -- and I don't not -- I don't have them
Case
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     1 memorized.

     2        Q.    I don't expect you to.

     3        A.    Okay.     Okay.

     4        Q.    I -- I'm not trying to hold you to that.             I

     5 can't remember those things, and I've got spreadsheets

     6 all over the place with this stuff.

     7        A.    Okay, thank you.

     8        Q.    I was just trying to figure out the way in

     9 which you came to the number, not the exact one, but did

   10 you calculate the wages, and then subtract what was paid

   11 to the DOL, and then provided a response of the result?

   12         A.    Yes.

   13         Q.    Okay.     The spreadsheet that we've been talking

   14 about, your spreadsheet --

   15         A.    But not for this response.

   16         Q.    -- do you -- sorry, what?

   17         A.    I said, but not for this response.

   18         Q.    Okay, okay, and we can close this response.

   19 This -- all right.

   20              MR. WOOD:     We -- we're marking this, I think,

   21        as Plaintiff's 1, and because it's a -- Betty

   22        Borgos' Defendant's -- let's see.          First Choice

   23        Medical Group answers.        And I'm going to save this

   24        in my file right now so we don't lose it.            I'll stop

   25        sharing.      Just bear with me for a minute so I --
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     1               THE REPORTER:      Is that the same notice?      Is

     2       that --

     3               MR. WOOD:   Excuse me?

     4               THE REPORTER:      Is that the same notice? Because

     5       you already had an Exhibit 1, so this would be 2,

     6       unless it's the same one.

     7               MR. WOOD:   I --

     8               THE REPORTER:      You flipped through them too

     9       quick.     I couldn't see.

   10                MR. WOOD:   I think, James, maybe you can

   11        remember, I'm pretty sure the 1 is going to be the

   12        interrogatory answers; is that right?

   13                MR. HENDERSON:      That's whatever -- that's your

   14        call.     I don't --

   15                MR. WOOD:   That's what I thought.        If not,

   16        we'll --

   17                THE REPORTER:      Well, this would be 2.

   18                MR. WOOD:   Okay, well, we're going to save this

   19        in there.     I did not mark the Sunbiz docs.

   20                THE REPORTER:      Right.   Okay --

   21                MR. WOOD:   Yeah.

   22                THE REPORTER:      -- then it's 2.

   23                MR. WOOD:   Okay.

   24                THE REPORTER:      Okay.

   25                 (EXHIBIT 2 MARKED FOR IDENTIFICATION)
Case
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     1             MR. WOOD:     Okay.

     2              BY MR. WOOD:

     3        Q.    In the spreadsheet that we've been talking

     4 about, the spreadsheet where you calculated the back

     5 wages, do you know, or do you remember, if you had a

     6 gross amount, and then you had a dollar amount for what

     7 was paid to the DOL, and then a calculated sum?

     8        A.    Yes.

     9        Q.    Okay.    And I'll ask, before we get too far,

   10 that you provide a copy of that -- save the document and

   11 provide a copy of it to the attorney, Mr. Henderson, so

   12 that that can be produced.           I don't think that we've

   13 received it.

   14               I have a feeling that it's within the

   15 documents we've requested, and it certainly would be

   16 helpful.      We did receive a document pertaining to the

   17 health insurance reimbursement that we'll go over soon.

   18 I think it's an e-mail from you, actually, and so --

   19 when you worked as a W-2 employee for these entities,

   20 where did you physically work?            Were you at home, or

   21 were you in an office like you are today?

   22         A.    I work from home.

   23         Q.    Okay.    Were you involved in payment to any

   24 insurance companies?

   25         A.    Yes.
Case
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     1        Q.    Okay.    And were you involved in communications

     2 with insurance companies to receive payment?

     3        A.    Yes.

     4        Q.    How often would you communicate with insurance

     5 companies about obtaining payment from them?

     6        A.    I don't understand.

     7        Q.    Okay.    My question pertains to billing

     8 insurance companies for services provided to patients,

     9 and obtaining --

   10         A.    I'm not -- I'm not involved in that.

   11         Q.    Okay.

   12         A.    I'm sorry.

   13         Q.    Do you -- do you know who is in charge of, I

   14 guess we would call it, billing, right?              Who is in

   15 charge of billing for the services provided by the

   16 providers of First Choice?

   17         A.    Phil Keller, our CFO, does the receivable

   18 side.

   19         Q.    Before you went to 1099, were you a full-time

   20 employee, 40 hours a week, or was it a part-time

   21 position?

   22         A.    Full-time.

   23         Q.    Has that changed?

   24         A.    No.

   25         Q.    What was your involvement in payroll for
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     1 employees?

     2        A.    I would review payroll and submit it to the

     3 president for approval of payment.

     4        Q.    Okay.    So I spoke with Ruby, Rubelinda

     5 (phonetic), and my understanding is, she was involved

     6 with payroll.        Would she submit something to you?

     7        A.    Yes.

     8        Q.    And that would then be submitted by you to

     9 Lance?

   10         A.    Correct.

   11         Q.    And Lance would approve of it; is that right?

   12         A.    Yes, sir.

   13         Q.    And once you had Lance's approval, what would

   14 you do?

   15         A.    I would tell Ruby to let it go.

   16         Q.    Okay.    And if it wasn't approved by Lance,

   17 what would happen?

   18         A.    It was held.

   19         Q.    Okay.    Where -- how or where would it be held,

   20 the money?

   21         A.    There wasn't money.

   22         Q.    Okay.

   23         A.    It was payroll calculations.

   24         Q.    Okay.    So if Ruby never got the authority from

   25 you to pay payroll, is it your understanding that
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     1 payroll would not be paid?

     2        A.    Correct.

     3        Q.    And you wouldn't provide authority to Ruby

     4 unless and until you got authority from Lance; is that

     5 right?

     6        A.    Correct.

     7        Q.    Okay.    Lance is the ultimate decision-maker on

     8 paying payroll; is that right?

     9             MR. HENDERSON:      Object to the form.

   10         A.    Yes.

   11               BY MR. WOOD:

   12         Q.    There came a time where employees were not

   13 timely paid their payroll.           In June of 2022 through the

   14 end of many of these employees' tenure, their paychecks

   15 stopped; is that your understanding?

   16         A.    Yes, sir.

   17         Q.    For the time periods where they were working

   18 and not getting paid, did you review payroll?               Do you

   19 recall reviewing payroll for those times?

   20         A.    Yes.

   21         Q.    Did you submit those to Mr. Friedman?

   22         A.    Yes.

   23         Q.    Did he give you approval?

   24         A.    No.

   25         Q.    Okay.    Do you recall having a conversation
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     1 with him about that?

     2        A.    Yes.

     3        Q.    And can you summarize the conversation?

     4        A.    No.     Different issues on a -- every week.

     5        Q.    Okay.

     6        A.    It's cash flow.      You don't have cash in, can't

     7 send out checks.

     8        Q.    So it is somewhat simplistic, I guess, because

     9 I've heard and I understand, these employees weren't

   10 paid because the company simply didn't have the money to

   11 pay them; is that fair?

   12         A.    Correct.

   13         Q.    So you had payroll submitted to you, to submit

   14 to Lance, and it said, you know, you owe, you, the

   15 company, need to pay X dollars in payroll, and you just

   16 didn't have it, right?

   17         A.    Correct.

   18         Q.    So you ended up not paying it, right?

   19         A.    Yes.

   20         Q.    Were you ever involved in any communications

   21 about letting go of the employees before they kept on

   22 working without pay?

   23         A.    Not specific employees --

   24         Q.    Okay.

   25         A.    -- but we talked about reduction of payroll as
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     1 an emergency.

     2        Q.    Was that done, the reduction?

     3        A.    We did start to do that, yes.

     4        Q.    Okay.    Was that a -- were there affirmative

     5 steps taken by the company, or was there a reduction

     6 simply because the employees didn't want to work for not

     7 -- without pay any more and they left?

     8             MR. HENDERSON:      Objection.

     9        A.    Both.

   10              MR. HENDERSON:      Form.

   11               BY MR. WOOD:

   12         Q.    Both.    Okay.    Now, once an employee left, do

   13 you know -- let me strike that.            A number of employees

   14 left and were still owed back wages; is that fair to

   15 say?

   16         A.    Yes.

   17         Q.    Once those employees left the employment of

   18 First Choice or Emerge, did you -- are you aware of them

   19 getting paid their back wages?

   20         A.    They did not.

   21         Q.    Okay.    And the decision to not pay former

   22 employees their back wages would ultimately be made by

   23 Lance?

   24         A.    Yes, sir.

   25              MR. HENDERSON:      Objection.     Form.
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     1         A.    I'm sorry.

     2              MR. HENDERSON:     That's fine.

     3               BY MR. WOOD:

     4         Q.    He said an -- he made an objection to the

     5 form. It's a standard objection, but your answer is

     6 fine.

     7              THE WITNESS:     Mr. Henderson, I need you to

     8       speak up.

     9              MR. HENDERSON:     Okay.

   10               THE WITNESS:     Thank you.

   11               MR. HENDERSON:     I try not to be too intrusive

   12        on depositions in order not to get, you know,

   13        smacked by the Court.

   14               THE WITNESS:     That's okay.

   15                BY MR. WOOD:

   16          Q.    Yeah, so again, these objections really

   17 shouldn't affect your testimony.            He's simply preserving

   18 it for reasons that we can -- I can assume and he knows,

   19 or we'll know at some point in the future, but it really

   20 shouldn't have an effect on your -- on your testimony at

   21 the moment.        Were you involved with ordering any

   22 supplies for the company?

   23          A.    (No verbal response.)

   24          Q.    Okay.

   25          A.    I'm the controller.       I did the accounting.       I
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     1 did not prepare purchase orders.

     2        Q.    Okay.    And you got to bear with me.         I -- I'm

     3 not there.      I -- sometimes, I even know the answer, and

     4 I'm still going to ask you.          It might sound stupid, but

     5 just bear with me.        I get what you're saying.        You know,

     6 you do the books, you don't do the ordering, that's a

     7 stupid question, move on.         But I got to cover some of

     8 these things so we can get through this.             Since you

     9 dealt with the books, you would be dealing with the

   10 gross revenues of all the entities, right?

   11         A.    Yes.

   12         Q.    And I think it's fair to say that over the

   13 years, the revenues have declined, right?

   14         A.    Yes.

   15         Q.    And do you recall what the gross revenues were

   16 for 2021?

   17         A.    No, I'm sorry.      Just --

   18         Q.    Okay.

   19         A.    -- don't have that number.

   20         Q.    Now, if I ask you the gross revenues, would

   21 you be able to break it up by subsidiary, or would it

   22 just be a consolidated figure?

   23         A.    Gross revenues are only reported in First

   24 Choice Medical Group of Brevard.

   25         Q.    Okay.
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     1         A.    That was the practicing company.

     2         Q.    Okay.   So I asked you a specific question

     3 before.      Let me give you a bit -- maybe easier.           Do you

     4 know if the gross revenues for FCMG in 2021 exceeded

     5 $500,000?

     6         A.    I'm really not sure.

     7         Q.    Okay.

     8         A.    That was when we were hiring doctors at that

     9 time.

   10          Q.    Do you know how many doctors you hired?

   11          A.    Three or four in 2021.

   12          Q.    Do you know if their salaries that were

   13 offered to them exceeded $100,000 a person?

   14          A.    Yes.

   15          Q.    Okay.   Do you know if the doctors you hired,

   16 their contracts combined exceeded $500,000?

   17          A.    Yes.

   18          Q.    Were (audio cuts out) together an offer

   19 package for these people?

   20          A.    No.

   21          Q.    Okay.   Were you consulted at all to ensure

   22 that the revenues of the -- of the companies would be

   23 able to cover these salaries?

   24          A.    No.

   25          Q.    Okay.   Were you involved in preparation of any
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     1 financial documents while the companies were in

     2 bankruptcy?

     3        A.    Yes.

     4        Q.    Do you recall reporting revenues in the

     5 millions while the companies were in bankruptcy?

     6        A.    Yes.

     7        Q.    Okay.    And did those types of revenues

     8 exceeding a million dollars continue while they exited

     9 bankruptcy?

   10         A.    No.

   11         Q.    Did it have a steep cliff?

   12         A.    Yes.

   13         Q.    Okay.    If I wanted to find out what the gross

   14 revenues for the year 2021 was, where would I look?

   15         A.    The consolidated profit and loss.

   16         Q.    Okay.    And where would something like that be

   17 maintained?

   18         A.    It's in the computer.

   19         Q.    Okay.    And you could easily do a report to

   20 pull that figure, right?

   21         A.    Yes.

   22         Q.    And the same would be true for 2022 and 2020,

   23 right?

   24         A.    Yes.

   25         Q.    Okay.    That consolidated report, would that
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     1 cover each of the entities, or would it -- I think we

     2 talked about being FCMG, or --

     3        A.    No, it would be consolidated to the parent

     4 company, First Choice Healthcare Solutions.

     5        Q.    Okay.    And I'm going to ask that you provide

     6 those for 2020 through 2022 to the attorney for Emerge.

     7 I'm fairly confident we've requested documents that

     8 would -- this would be responsive to.

     9             THE WITNESS:     Jim, do I need to write this

   10        down, or are you going to send me --

   11              MR. HENDERSON:      I'll take note of it.

   12              THE WITNESS:     -- the request?

   13              MR. WOOD:     Thanks, James.

   14              THE WITNESS:     Thank you.

   15              MR. KELLER:     You know, sir, I know I'm not

   16        supposed to talk, but I believe it's already been

   17        submitted.

   18              MR. HENDERSON:      And Phil, we'll -- off the

   19        record, we'll take care of it.

   20              MR. KELLER:     Okay.

   21              THE WITNESS:     I -- I feel like they were

   22        submitted as well.

   23              MR. WOOD:     And James, if you've given them to

   24        me, I -- maybe I missed them.         I feel as though I

   25        would've seen a P&L for the companies in my review,
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     1       but I do miss things, so -- but this -- it is,

     2       obviously, an issue that has been contested.

     3              BY MR. WOOD:

     4        Q.    It's been alleged the companies generate more

     5 than $500,000 in revenue.          I believe that was denied,

     6 and therefore, we need to obtain those statements to

     7 approve that, but we can deal with that later on.

     8        A.    I don't believe I denied it.          I said I do not

     9 recall it.

   10         Q.    No, no, no, so I'm not saying that you denied

   11 it.     I'm referring to a denial within an answer, a

   12 pleading in a -- in the lawsuits.            I'm not --

   13         A.    Okay.

   14         Q.    -- saying that you're denying it, I -- your

   15 testimony, I believe, was, I don't recall the figures.

   16         A.    Okay.    Thank you.

   17         Q.    Okay.    So I'm not -- I'm not trying to put

   18 words into your mouth, I'm just trying to give you a

   19 background as to where we are in this case.               Let's talk

   20 about the insurance policies starting in 2021.                There

   21 was a Florida Blue plan that was put in place in that

   22 year; do you recall that?

   23         A.    Yes, sir.

   24         Q.    Were you a beneficiary of that plan?

   25         A.    Yes.
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     1        Q.    Okay.    And do you recall if that plan was

     2 terminated prior to its anticipated end date?

     3        A.    Yes.

     4        Q.    And that was canceled as of November 30, 2021,

     5 right?

     6        A.    Yes, sir.

     7        Q.    Okay.    And the reason it was canceled is

     8 because Florida Blue wasn't paid, right?

     9        A.    That is correct.

   10         Q.    Were you involved in any of the discussions

   11 with Florida Blue about payment?

   12         A.    They would call me for collections, but I was

   13 not negotiating the payment to them.

   14         Q.    So when you would receive a call from these

   15 people about collections of what was owed to them, I

   16 assume you discussed that with higher-ups; Lance --

   17         A.    Correct.

   18         Q.    -- for instance?       And --

   19         A.    Yes.

   20         Q.    -- were you given any kind of direction as to

   21 how to respond?

   22         A.    Generally, he -- Lance Friedman would speak

   23 directly with the insurance companies.

   24         Q.    Okay.    As part of the Florida Blue plan, there

   25 were deductions made from paychecks, correct?
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     1        A.    Yes.

     2        Q.    And you would've had deductions made from your

     3 own paychecks, right?

     4        A.    Correct.

     5        Q.    And do you recall deductions being made from

     6 your paychecks after it was canceled in November of '21?

     7        A.    Yes.

     8        Q.    And the deductions from the employees'

     9 paychecks, including your own, were those -- were the

   10 dollar amounts deducted, were they put anywhere?

   11         A.    No.

   12         Q.    Okay.    So when Emerge would make -- would

   13 process these payroll checks, they would just make the

   14 deduction on the paycheck and keep the money in their

   15 general operating accounts?

   16         A.    Yes.

   17              MR. HENDERSON:      Objection.     Form.

   18               BY MR. WOOD:

   19         Q.    Would the same be true for payroll taxes?

   20         A.    Yes.

   21         Q.    Do you know if payroll taxes were paid timely?

   22         A.    No.

   23         Q.    So in, let's say, December of '21, do you know

   24 if payroll tax, FICA taxes, so on and so forth, were

   25 made to the IRS?
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     1        A.      No.

     2        Q.      Sitting here today, have they been paid?

     3        A.      No.

     4        Q.      The 2021 W-2s, I don't have one in front of

     5 me, but I'm assuming it showed gross wages, and would it

     6 also show payroll taxes withheld?

     7        A.      Yes.

     8        Q.      Were the W-2s, did they show the payroll taxes

     9 that the employers were to pay on them?

   10         A.      I'm sorry, I don't understand.        Repeat?

   11              MR. WOOD:     Okay.     Why don't we do this?      I'm

   12        going to pull a W-2.         Well, why don't we take a --

   13        we're about an hour in.         Let's take a five or 10-

   14        minute break, I'll get a W-2, I can clarify and

   15        clean up these questions, and we can go on from

   16        there.     So I'm showing 1:57.      Five after?

   17              MR. HENDERSON:        Works for me.

   18              MR. WOOD:     Okay, sounds good.

   19              THE REPORTER:      Off the record.

   20                 (OFF THE RECORD)

   21              THE REPORTER:      All right, go ahead.

   22              MR. WOOD:     Okay.

   23                 BY MR. WOOD:

   24         Q.      Before we went on break for a few minutes, we

   25 were discussing W-2s and payroll tax, and while we were
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     1 on break, I went and grabbed a W-2 offline for the year

     2 2021.        I don't want to mark this, I just want to use it

     3 as a reference, and let me -- there we go.              Okay, so

     4 pretty standard W-2 that we're looking at.              This is for

     5 2021, as you can see there.          Wages and tips are the

     6 conversation, that's typically the gross wages.               The

     7 federal income tax withheld, this is the -- I believe,

     8 the employee portion of the federal income tax that was

     9 withheld.

   10          A.      Yes, sir.

   11          Q.      You had indicated that Emerge had not paid the

   12 payroll taxes, which I believe would be included in this

   13 box, too.         Sitting here today, do you know if the W-2s

   14 for these employees, for 2021 and 2022, show an accurate

   15 amount of the income taxes withheld and transmitted to

   16 the IRS, or just withheld?

   17          A.      For 2021, they got two W-2s.

   18          Q.      Okay.

   19          A.      One was issued directly from Paylocity, which

   20 was the payroll company that we used.             100 percent of

   21 the taxes withheld and matching were paid.

   22          Q.      Okay. And there's another W-2 that was issued?

   23          A.      There's a second W-2 from First Choice Medical

   24 Group, or FCID Medical.          That was after our relationship

   25 with Paylocity ended.         We paid the wages, but we did not
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     1 make the Social Security and federal deposits.               We have

     2 accrued the liabilities.

     3        Q.    Okay.    The W-2s from FCI -- FC Medical Group

     4 that we talked about just now, did they show -- do you

     5 know if they showed an income tax withheld on them?

     6        A.    Yes.

     7        Q.    Okay, but that figure was never sent or

     8 transmitted to the IRS?

     9        A.    Correct.

   10         Q.    Okay.    And for 2022, were any federal income

   11 taxes that were withheld from paychecks transmitted to

   12 the IRS?

   13         A.    No.

   14         Q.    Now, you earlier indicated that your W-2 wages

   15 have been paid back, right?

   16         A.    Yes.

   17         Q.    Sitting here today, do you know if your income

   18 tax figure that was withheld, has that been sent to the

   19 IRS?

   20         A.    No.

   21         Q.    Have you received any notice from the IRS that

   22 they were not paid?

   23         A.    No.

   24         Q.    Has First Choice, any of the entities, have

   25 they been in discussions with anyone at the IRS about
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     1 making this payment?

     2        A.    No.

     3        Q.    Does the IRS know that these are due?

     4        A.    No.

     5             MR. HENDERSON: Objection. Form.

     6              BY MR. WOOD:

     7        Q.    Okay. Was this a topic that came up during the

     8 DOL investigation?

     9        A.    I -- I don't know.

   10         Q.    Okay.

   11         A.    I was not involved in the DOL conversations.

   12         Q.    Okay.    The amounts of money that was sent to

   13 the DOL, would those figures be net figures or gross

   14 figures?

   15         A.    Gross wages.

   16         Q.    Okay, so the wages that were paid to the DOL

   17 as part of your agreement, they would have taxes

   18 withheld from them, and that would be retained by the

   19 IRS, to the best of your knowledge?

   20              MR. HENDERSON:      Objection. Form.

   21         A.    Not involved in the DOL.         It was gross wages.

   22               BY MR. WOOD:

   23         Q.    Okay.    Other than insurance and -- let's stop

   24 sharing this.         Other than insurance and payroll tax, or

   25 income tax, were there any other deductions from
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     1 paychecks that didn't go to what they said they were

     2 going to?

     3             MR. HENDERSON:           Objection.   Form.

     4        A.    I -- I don't know what other deductions we

     5 would be discussing.           No.

     6              BY MR. WOOD:

     7        Q.    Okay.     Okay.     Here on my screen again, this is

     8 Plaintiff's 2.        This is an e-mail from you to Phil, and

     9 to Gillian Lee, and the subject line is, "Employee

   10 Insurance Refunds."         This is dated April 4th of 2023, of

   11 this year, and there's a spreadsheet attached.                The body

   12 that you wrote here says, "See attached per our

   13 conversation.         Thanks."        Do you recognize this e-mail?

   14         A.    Yes.

   15         Q.    Okay.     And you wrote the e-mail, correct?

   16         A.    Yes.

   17         Q.    And the Excel spreadsheet, which I'm going to

   18 open up, you created the spreadsheet?

   19         A.    Yes.

   20         Q.    Going to try to open it up.            Here it is.

   21 Okay. Before we get into the spreadsheet, which, there

   22 -- it says -- you wrote, "Per our conversation."                   Can

   23 you describe that conversation that you had with Phil

   24 and Gillian?

   25         A.    I don't recall.           They probably said, hey, we
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     1 need this.      And I said, okay.

     2        Q.    Okay.     Is it -- is it fair to --

     3        A.    I don't -- I don't know.

     4        Q.    Is it fair to say that you had a conversation

     5 about reimbursing the insurance deductions?

     6        A.    We would like to.       They are accrued

     7 liabilities.

     8        Q.    Okay.     And so -- what was that?       Here.    Okay,

     9 so this is the spreadsheet that was attached.

   10         A.    Yes.

   11         Q.    Was anyone else involved in making the

   12 spreadsheet?

   13         A.    No.

   14         Q.    Okay, so what you've got here, it says, "Total

   15 insurance refund due, active employee refunds," you've

   16 got totals.         The active employee refunds, those would've

   17 been employees who were -- or contractors at this point,

   18 I guess, who were working for First Choice in April of

   19 '23?

   20         A.    Yes.

   21         Q.    And these figures that you've got here, this

   22 is -- am I right to say these are the amounts that were

   23 deducted from their previous paychecks for a time period

   24 where they did not have insurance?

   25         A.    Yes.
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     1        Q.    And this was you trying to figure out how much

     2 in those deductions you owe to these employees, right?

     3        A.    Correct.

     4        Q.    Down here, there's a COBRA.         Is this a -- I

     5 guess, a former employee who was on COBRA, who was

     6 paying --

     7        A.    Yes.

     8        Q.    -- for COBRA, that didn't have coverage?

     9        A.    Correct.

   10         Q.    Okay.    This says here, "Paid by wire 3-7-23."

   11 Did you write that?

   12         A.    Yes.

   13         Q.    Did you wire money to Kyla Green?

   14         A.    Kyla Green.

   15         Q.    Okay.    And so you wired her 3,479.52 in March

   16 of this year?

   17         A.    Correct.

   18         Q.    Do you know if she was engaged in a lawsuit

   19 against First Choice?

   20         A.    No.

   21         Q.    Okay.    Did she threaten a lawsuit?

   22         A.    No.

   23         Q.    Why was she paid?

   24         A.    She paid cash into COBRA, and I reimbursed her

   25 her cash.
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     1        Q.    Okay.    Now, these other people who had their

     2 payroll deductions, why weren't they paid?

     3        A.    No money.

     4        Q.    So you're saying that because she paid you as

     5 opposed to a payroll deduction, she got paid and the

     6 other ones didn't?

     7             MR. HENDERSON:      Objection.     Form.

     8              BY MR. WOOD:

     9        Q.    You may respond if you can.

   10         A.    Oh, I'm sorry.

   11         Q.    I'm just trying to find out --

   12         A.    Her payments -- her payments for COBRA were

   13 Blue Cross Blue Shield from the prior year and went

   14 through Paylocity, and Paylocity was, I think, the one

   15 that said, we must pay her back, because the COBRA was

   16 no longer in existence, and she had continued to make

   17 payments.

   18         Q.    Okay, so her payments were paid to -- I guess,

   19 to Paylocity?

   20         A.    She -- Paylocity did our COBRA prior to

   21 December when -- when Blue Cross was canceled, and Kyla

   22 continued to make the payments through Paylocity even

   23 though it was a canceled program.

   24         Q.    Okay.    When she made those payments to

   25 Paylocity after November 30th, did Paylocity pay you
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     1 those amounts, or did they retain the amounts?

     2        A.    They paid me.

     3        Q.    Okay, so you received money from Kyla Green

     4 in, say, January of 2022?

     5        A.    Yes.

     6        Q.    Okay.

     7        A.    For a few months before she was notified.

     8        Q.    And it looks like there's four pay periods.

     9        A.    Four months.

   10         Q.    This -- I mean, this says, "Number of pay

   11 periods."

   12         A.    I understand it was copied from up above --

   13         Q.    Okay.

   14         A.    -- but she was on COBRA.         It was a monthly

   15 thing.

   16         Q.    Okay.

   17         A.    That's why she's kind of separated from

   18 everybody else.

   19         Q.    Okay.    Has anybody else been paid back their

   20 -- the amount that was deducted from their paychecks for

   21 insurance?

   22         A.    No.

   23         Q.    Now, there's a number of tabs here.

   24 Reimbursement is the first one we've been looking at.

   25 There's also Florida Blue.           Is this tab showing the
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     1 amount of money owed to Florida Blue?

     2        A.    Yes.     It was --

     3        Q.    There's also --

     4        A.    -- December through March invoices, I believe.

     5        Q.    Okay.     This, as of today, remains outstanding,

     6 right?

     7        A.    It's on my liability list.

     8        Q.    The Guardian, what was that?

     9        A.    Dental.

   10         Q.    Okay, so these were additional deductions made

   11 from paychecks?

   12         A.    Yes, sir.

   13         Q.    And the employees didn't get any coverage?

   14         A.    Correct.

   15         Q.    This is United.      This would've been April --

   16 starting April of '22.

   17         A.    The --

   18         Q.    Is this the amount --

   19         A.    -- the date of -- the date of the invoice was

   20 April '22.       The period of coverage was May.          I believe

   21 the United was effective May 1st.

   22         Q.    Okay.     Do you know if United was ever actually

   23 paid and credited, and you receive a credit for a

   24 payment for their health insurance?

   25         A.    I believe we tried to process payment, but it
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     1 was returned NSF, non-sufficient funds.

     2        Q.    So sitting here today, were any months for the

     3 United plan paid for?

     4        A.    No, sir.

     5        Q.    And is it your understanding that the plan was

     6 canceled as though it had never existed?

     7        A.    Yes, sir.

     8        Q.    This next tab is for FCHS.         This is the parent

     9 company; is that right?

   10         A.    Yes.

   11         Q.    So this is you and Gillian as employees of the

   12 parent company?

   13         A.    Correct.

   14         Q.    Where -- I don't -- maybe there's somewhere

   15 else on here, but aren't Phil and Lance also employees

   16 of the parent company?

   17         A.    They were not paid through regular payroll.

   18         Q.    Okay.    And what is this next one, FCID?          What

   19 is this showing us?

   20         A.    The FCID employees.

   21         Q.    And the columns I through R -- and it looks

   22 like vision, life, dental, these are, looks like, the

   23 amounts deducted from paychecks; is that what it is?

   24         A.    Yes, sir.

   25         Q.    Okay.    And then the medical group, that
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     1 would've been --

     2        A.    The medical group employees.

     3        Q.    This chart, is it showing us prior to the

     4 merge that happened in April-ish of 2022?

     5        A.    Yes.

     6        Q.    Okay, because some of these --

     7        A.    Yeah, well --

     8        Q.    -- FCID --

     9        A.    -- the employees are still separated.

   10         Q.    Okay.    Okay.    And then this QuickBooks payroll

   11 detail, I'm assuming this is for all of the employees,

   12 and basically, they detail what their paychecks would

   13 look like?

   14         A.    It looks like it, yes, sir.

   15         Q.    Okay.    And all of this data from these other

   16 tabs were used to create the reimbursement spreadsheet,

   17 right?

   18         A.    Yes, sir.

   19         Q.    Okay.    And so sitting here today, First Choice

   20 owes $33,803.18 to its employees for healthcare

   21 deductions; is that right?

   22         A.    Correct.

   23         Q.    This did not contemplate any claims that were

   24 made by these employees while they weren't covered,

   25 right?       This is just deductions?
Case
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     1        A.    Just deductions.

     2        Q.    Okay.    And in your conversations with the

     3 company and its officers, is there any dispute that this

     4 money is owed to these people?

     5             MR. HENDERSON:      Objection.     Form.

     6        A.    No.

     7              BY MR. WOOD:

     8        Q.    If I'm correct, the reason why it's not being

     9 paid is that you don't have the money to pay it?

   10         A.    Correct.

   11              MR. WOOD:     Okay, this is going to be

   12        Plaintiff's 3.

   13               (EXHIBIT 3 MARKED FOR IDENTIFICATION)

   14               BY MR. WOOD:

   15         Q.    This is an e-mail chain from June of '22.             The

   16 e-mail on top is you saying, "Yes, we need to do this.

   17 Thanks."      Scroll down to the bottom, and this looks as

   18 though it is an option or offer to reinstate Florida

   19 Blue if the company could pay $25,000 weekly until

   20 they're brought current, and at which point they would

   21 be made active.        And this was forwarded on to Lance, who

   22 then included you on this chain, and then you responded,

   23 "Yes, we need to do this.          Thanks."     Do you recall this

   24 e-mail chain?

   25         A.    I -- I see my name on it.         I don't recall the
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     1 specific date, but yes, we were trying to negotiate.

     2        Q.    Okay.    And the outcome was that the company

     3 did not move forward with this option to reinstate,

     4 right?

     5        A.    We were not able to go forward with that

     6 option.

     7        Q.    Did you have any conversations with Phil or

     8 Lance about what to do about this option?

     9        A.    I -- I don't understand the question.            The e-

   10 mail is the conversation.

   11         Q.    Well, you said, "Yes, we need to do it," so

   12 you took the position, seemingly, that you need to make

   13 the $25,000 weekly payments and get this reinstated; is

   14 that fair?

   15         A.    Yes, that was my opinion.

   16         Q.    That didn't happen, right?

   17         A.    Correct.

   18         Q.    Were you involved in any communication as to

   19 why it didn't happen?

   20         A.    Cash flow issues.

   21         Q.    Okay.    That's the reason, but were you

   22 involved in communications that talked about that?

   23         A.    No.

   24         Q.    Okay.    Who would've been the one to consult

   25 about the cash flow of the business?
Case
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     1             MR. HENDERSON:      Objection.     Form.

     2        A.    Phil and Lance.

     3              BY MR. WOOD:

     4        Q.    Okay.    Do you know who made the final decision

     5 to not move forward with the option?

     6        A.    No.

     7        Q.    Okay.    After the Florida Blue was canceled in

     8 November, fast forward into April, and there was a

     9 transition to UnitedHealthcare, correct?

   10         A.    Yes.

   11         Q.    So there was supposed to be a transition to

   12 UnitedHealthcare, right?

   13         A.    Well, in April, we were still trying to

   14 negotiate with Florida Blue ---

   15         Q.    Okay.

   16         A.    We tried to.

   17         Q.    So you were trying to get that reinstated and

   18 just keep on going with Florida Blue up until April?

   19         A.    I believe the renewal date would've been May

   20 1st.

   21         Q.    Okay.    Were you personally involved in that

   22 communication with Florida Blue?

   23         A.    Again, they would send me collection and

   24 invoices --

   25         Q.    Okay.
Case
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     1        A.    -- but the discussions that they had was

     2 directly with Lance.

     3        Q.    And I think we talked about earlier, the

     4 UnitedHealthcare plan was canceled and effectively made

     5 as though it didn't happen, right?

     6        A.    Correct.

     7        Q.    There was no payment actually made and

     8 received by UnitedHealthcare?

     9        A.    I believe we tried to make a payment, and it

   10 was returned.

   11         Q.    It was returned because there was no money in

   12 the account you paid it from, right?

   13         A.    Correct.

   14         Q.    Okay.    Payroll deductions were being made from

   15 employees' paychecks after the start of the

   16 UnitedHealthcare plan, right?

   17         A.    Yes.

   18         Q.    And they continued for quite some time.            I

   19 don't know the exact date, but they continued after you

   20 were made aware of the cancellation, right?

   21         A.    No, I -- I believe that we tried for several

   22 months, and when we determined that United was a no-go,

   23 I removed those deductions from everybody's checks.

   24         Q.    Okay.    But any checks issued still had the

   25 deductions, and they weren't reimbursed for those
Case
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     1 deductions?

     2         A.    The spreadsheet tells you what I deducted and

     3 when.

     4         Q.    Okay.   I'm sharing my screen again.

     5              MR. WOOD:    This is Plaintiff's 4.

     6               (EXHIBIT 4 MARKED FOR IDENTIFICATION)

     7               BY MR. WOOD:

     8         Q.    It's an e-mail.     At the -- at the top, it was

     9 dated July 6th of '22.         And we'll scroll down to the

   10 bottom.       The very first e-mail that prompted this is an

   11 e-mail from Gillian to Phil and Lance, and you were CC'd

   12 on it, and it's describing a call she received from

   13 Rubelinda, stating that there was no coverage for United

   14 Healthcare.

   15          A.    Okay.

   16          Q.    Do you recall receiving this e-mail or having

   17 conversations about this?

   18          A.    Yes, I believe that I did receive a copy of

   19 it.

   20          Q.    Okay.   There's then a response from Lance, and

   21 then you have a response here.            You state, "I do not

   22 feel I am able to negotiate payment, as we need to

   23 review the current cash flow and discuss payments of all

   24 types.        Sent to you earlier, here's the balance due,

   25 UHC, after voiding the last payment," and then you have
Case
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     1 a breakdown of April, May, June, and July.              You

     2 mentioned voiding the last payment.            Which payment was

     3 voided?

     4        A.    The payment that was returned.

     5        Q.    Okay, so I think --

     6        A.    I had to physically void it to make it go back

     7 into my open payables.

     8        Q.    So you didn't take any affirmative steps to

     9 void a check?

   10         A.    No.

   11         Q.    It just came back non-sufficient, so -- okay.

   12         A.    I believe it was paid electronically.            There

   13 was not a physical check.

   14         Q.    Okay.    Lance then responds about the first

   15 25K. You clarify that you pay the first 25K, but they

   16 took 50, so the whole amount was returned.               So here, I

   17 think you're saying is that they tried to take $50,000

   18 out of your account, you didn't have the funds, so they

   19 returned the entire amount and voided, as you used, that

   20 payment, right?

   21         A.    Correct.

   22         Q.    You go on to say that, "There's payments to

   23 Phil and Lance today;" do you see that?

   24         A.    "Then returned again, and now with the

   25 payments to Phil and Lance, we do not even have the
Case
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     1 original 25 to pay for April again."

     2        Q.    Okay.    So --

     3        A.    Okay.

     4        Q.    -- it sounds as though what you're saying is

     5 that, first, they took too much and we didn't have it,

     6 but now, we paid Phil and Lance, and now, we don't even

     7 have the initial 25,000 that we tried to pay.              What

     8 payments were made to Phil and Lance in -- on July 6th

     9 of 2022 that you were referring to?

   10         A.    I don't recall.

   11         Q.    Where would we find out where these payments

   12 were, or what they were?

   13         A.    You would ask, and I would have to go home and

   14 look them up.

   15         Q.    Okay.    So the answer to this question would

   16 be, somewhere within your documents at home?

   17         A.    Yeah, it's -- well, it's in my QuickBooks.

   18         Q.    Okay.

   19         A.    Electronic files.

   20         Q.    Okay.    In this time frame, do you recall what

   21 types of payments you were making to the executives?

   22         A.    No, sir.

   23         Q.    Do you know if they were reimbursement

   24 payments of some sort, maybe?

   25         A.    I -- I'm really not sure.
Case
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     1        Q.    Okay.

     2        A.    Lance and Phil both had 1099 income or payroll

     3 at the time.

     4        Q.    Okay.

     5        A.    I -- I -- I would have to verify.           I just

     6 don't recall.

     7        Q.    Okay.    As we read this, though, is it your

     8 understanding that because there was a payment to Phil

     9 and Lance, you didn't have $25,000 to pay

   10 UnitedHealthcare?

   11         A.    To send again, correct.

   12         Q.    Okay.    And then you say, "We have essentially

   13 paid them nothing."         You have literally paid them

   14 nothing, though, right?          No payments were ever

   15 processed?       You tried, they took too much, it came back,

   16 you couldn't redo it, so you've paid them nothing,

   17 right?

   18         A.    Correct.

   19         Q.    Okay.    You go on to say, "I'm not even sure if

   20 they know that the 50K is being returned.              The

   21 cancellation date is for 4-30-2020," which I think is a

   22 typo, because it's '22 --

   23         A.    Right.

   24         Q.    -- "which would make sense if they had

   25 actually only taken the first 25K that was processed by
Case
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     1 phone and confirmed by e-mail with their AR reps."                Can

     2 you try to tell me what this is saying?

     3         A.      Yes.    I called United, tried to make a payment

     4 by phone by doing an ACH with my routing number and

     5 account number.          I said 25,000 for the first invoice,

     6 and the girl said, okay.          The next day, I looked at my

     7 bank account, and there was 50,000 missing all at one

     8 time.        She took twice the payment as I authorized by

     9 phone, so the whole thing was returned.

   10          Q.      Okay.    So the first payment, you actually

   11 tried to set it up over the phone, they took too much,

   12 you're saying she screwed up, and -- but it appeared to

   13 you at the time that because the cancellation date was

   14 the end of the month, it appears that they were still

   15 giving you a month of coverage; is that right?

   16          A.      I -- I don't recall.

   17          Q.      Okay.    The last e-mail from Lance is just

   18 apologizing for the caps.           Not really pertinent here.

   19                 MR. WOOD:    I think this is my last document for

   20        you, Plaintiff's 5.

   21                  (EXHIBIT 5 MARKED FOR IDENTIFICATION)

   22                  BY MR. WOOD:

   23          Q.      This is from July of '22.      Scrolling to the

   24 bottom, it's an e-mail from you, "Please see attached

   25 the UHC invoice dated today, showing a $76,000 credit to
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     1 cancel May, June, and July billings.            Balance remain for

     2 April '22 only.       Not sure if this means they're

     3 completely done with us.         Thanks."     You sent this, looks

     4 like, to Lance?

     5        A.    And Phil and Gillian.

     6        Q.    Yeah, so Lance sent this to you, Phil, and

     7 Gillian.     You may have -- it doesn't show up on here.

     8 You may have just sent this to Lance.            And he asked,

     9 "Phil, can you give them a call and conference me in?"

   10 It wasn't really directed to you.            You then respond and

   11 say, "Wouldn't it be better to wait until we have the

   12 money?"      Do you recall sending this e-mail?

   13         A.    I -- I don't recall sending it, but it's

   14 been --

   15         Q.    Do you know what you were saying?

   16         A.    -- it's been frustrating, our cash flow.

   17         Q.    Okay.    And so I think what you were saying

   18 here, and you can correct me, is that, shouldn't we wait

   19 until we have money to pay UnitedHealthcare before we

   20 call them and try to figure out a payment; is that fair?

   21         A.    I don't know what was going through my mind

   22 when I typed that.

   23         Q.    Okay.    The response to your e-mail from Lance

   24 was, "I don't think it matters, and I was not saying

   25 today, Monday.        Just something to plan on.         I'm getting
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     1 closer."     Do you remember getting that from him?

     2        A.    No, sir.

     3        Q.    Okay.    We already covered this.        There was no

     4 health insurance for UnitedHealthcare, so the outcome

     5 was, they didn't get paid, right?

     6        A.    Correct.

     7        Q.    Do you know if there's ongoing communications

     8 with United to try to fix this issue?

     9        A.    No.

   10         Q.    Okay.    And you had previously mentioned about,

   11 you know, you have in your books a liability for some of

   12 these wages and other things.           Is there a liability for

   13 UnitedHealthcare on any of your books?

   14         A.    Yes.

   15         Q.    And what is the liability?

   16         A.    The invoices that were on that open payable,

   17 plus an extra $5,900 invoice that they sent me this year

   18 for what they said they paid out when they thought that

   19 we were still active.

   20         Q.    Okay, so that last amount, that would be from

   21 employees making claims with their UnitedHealthcare

   22 cards, that they did pay out, that they're now saying

   23 that you owe, right?

   24         A.    Correct.

   25         Q.    Okay.    Does the company have any intention of
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     1 paying the outstanding invoices to UnitedHealthcare?

     2             MR. HENDERSON:        Objection.     Form.

     3              BY MR. WOOD:

     4        Q.    Do you know if they do?

     5        A.    Yes.

     6        Q.    Okay.    And that would be the only reason why

     7 they're still on the sheets as a liability, right?

     8        A.    Correct.

     9        Q.    Have you been made aware of any progress in

   10 the company's ability to make those payments current, or

   11 bring those --

   12         A.    No.

   13         Q.    -- accounts current?

   14         A.    No.

   15              MR. WOOD:     Okay.     So I don't think I have

   16        anything more.      However, James, it's really between,

   17        I guess, us, and -- that -- there are spreadsheets

   18        that she's created, that I don't have.             So if we

   19        need to go over those at some point, then that might

   20        pop up again, but for today, at least, I'm finished

   21        with this witness.

   22              MR. HENDERSON:        All right.     And I don't have

   23        any questions.

   24              MR. WOOD:     Okay.     So Ms. Hardesty, thank you so

   25        much for participating today.            We are going to
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     1       order, as we did the other transcript.            You will

     2       have the option to read or waive the transcript, and

     3       correct if anything was taken down incorrectly.

     4             THE WITNESS:     Okay.

     5             MR. WOOD: Mr. Henderson can facilitate that if

     6       you would like. Just put on the record whether or

     7       not you want to read or waive. James, maybe you

     8       can --

     9             MR. HENDERSON:        And Julie, what he is asking

   10        you is essentially, do you want to be given the

   11        opportunity to read that transcript, or do you waive

   12        the right to read that transcript?

   13              THE WITNESS: Yes, please, I'd like to review

   14        it.

   15              MR. HENDERSON:        Okay --

   16              MR. WOOD:     Okay.

   17              MR. HENDERSON:        -- and we can -- we can set

   18        that up through my office, Julie, and we'll get that

   19        over to you.

   20              THE WITNESS:     Okay.     Thank you.

   21              MR. WOOD:     Okay.     So I have five exhibits I'll

   22        be e-mailing over to you in a bit.

   23              THE REPORTER:      Perfect.

   24              MR. WOOD:     But I have nothing else for today,

   25        so thank you so much.         We may be in touch again just
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     1       to clean up on some of the things that we talked

     2       about, that I don't have yet.

     3             THE WITNESS:     Okay.

     4              (DEPOSITION CONCLUDED AT 2:41 P.M.)

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     1                                CERTIFICATE OF OATH

     2

     3 STATE OF FLORIDA

     4 COUNTY OF ORANGE

     5

     6        I, the undersigned, certify that the witness in the

     7 foregoing transcript personally appeared before me and

     8 was duly sworn.

     9

   10 Identification:        Produced Identification

   11

   12

   13

   14                            ______________________________

   15                            KAITLYN HARRIS

   16                            Court Reporter, Notary Public

   17                            State of Florida

   18                            Commission Expires: 06/06/2027

   19                            Commission No.: HH 407171

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     1

     2                        C E R T I F I C A T E

     3

     4 STATE OF FLORIDA)

     5 COUNTY OF ORANGE)

     6

     7        I, KAITLYN HARRIS, Court Reporter and Notary Public

     8 for the State of Florida at Large, do hereby certify

     9 that I was authorized to and did report the foregoing

   10 proceeding, and that said transcript is a true record of

   11 the said proceeding.

   12

   13         I FURTHER CERTIFY that I am not of counsel for,

   14 related to, or employed by any of the parties or

   15 attorneys involved herein, nor am I financially

   16 interested in said action.

   17

   18 Submitted on: July 27, 2023.

   19

   20

   21

   22                            ______________________________

   23                            KAITLYN HARRIS

   24                            Court Reporter, Notary Public

   25
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     1                                       ERRATA

     2

     3 PAGE        LINE                          CHANGE        REASON

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   16 I have read the entire transcript of my deposition taken

   17 in the captioned matter or the same has been read to

   18 me.I request that the following changes be entered upon

   19 the record for the reasons indicated. I have signed my

   20 name to the Errata Sheet and authorize you to attach the

   21 changes to the original transcript.

   22

   23

   24 ______________________             _________________________

   25 Date                               NAME
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                                                                                                                         407.423.9900
                                                                                                                     Fax 407.841.2779
                                                                                                              Toll Free 855-MYDEPOS




July 27, 2023
Julie Hardesty
jhenderson@fresewhitehead.com



RE:      Deposition of Julie Hardesty taken on 7/17/2023
         Jean Decarlo et al. v. Emerge Healthcare Group et al.

Dear Julie Hardesty,

                    IMPORTANT NOTICE FOR DEPOSITION TRANSCRIPT READ AND SIGN
  It is suggested that the review of this transcript be completed within 30 days of your receipt of this letter, as
                                  considered reasonable under Federal Rules*.

        Attorney - Copy of Transcript Enclosed: Signature of the Deponent is required. Please have the deponent
make any corrections/changes necessary on the Errata Sheet ONLY, sign name on the form where indicated. Please
return ONLY the original signed Errata Sheet to our offices within 30 days from the date of this memorandum. If you have
any questions, please call our offices.

 x       Attorney - No Copy Ordered: Since you did not request a copy of the transcript, it will be necessary for the
Deponent to call our offices to arrange for an appointment to read and sign the transcript of the Deposition within 30 days
of this memorandum.

         Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, attached please find a copy of the transcript and Errata Sheet. Please read the transcript, make any
corrections necessary on the Errata Sheet ONLY, sign the bottom of the Errata Sheet, and return it within 30 days from the
date of this memorandum. Please call our offices if you have any questions.

        Deponent: At the time of your deposition, you did not waive your right to read and sign the transcript of your
testimony, therefore, it is necessary for you to come to our offices to read and sign same. Please call Milestone Reporting
Company to arrange for an appointment at your earliest convenience.

        The attached executed copies of the Errata Sheet(s) are sent to you for your files. If you have any questions,
please call our offices.

Thank you for your attention to this matter.

No. 276219

cc:

Waiver:
I, Julie Hardesty, hereby waive the reading and signing of my deposition transcript.

__________________________________________                                                  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
Deponent Signature                                                                          Date

*Federal Civil Procedure Rule 30 (e) / Florida Civil Procedure Role 1.310 (e)




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